         Case 3:15-cv-00207-RAR Document 8 Filed 02/13/15 Page 1 of 6


                                                UNITED STATES DISTRICT COURT
                                                             DISTRICT OF CONNECTICUT


      141 Church Street           450 Main Street             915 Lafayette Blvd
      New Haven, CT 06510         Hartford, CT 06103          Bridgeport, CT 06604
      (203) 773-2140              (860) 240-3200              (203) 579-5861



                   NOTICE TO COUNSEL AND PRO SE PARTIES

        The attached case has been assigned to District Judge Michael P. Shea who sits
in Hartford. Counsel and Pro Se Parties should file all future pleadings or documents in
this matter with the Clerk’s Office in Hartford. Any attempt to file pleadings or other
documents related to this action in any of the other seats of Court will result in those
pleadings or documents being refused at the Court or being returned to you. See D.
Conn. L. Civ. R. 3(a).
        Counsel and Pro Se Parties are required to become familiar with and abide by
the Federal Rules of Civil Procedure, the Local Rules of Civil Procedure for the District
of Connecticut and Standing Orders regarding scheduling in civil cases and the filing of
trial memoranda.
        Counsel and Pro Se Parties are hereby notified that failure to file and serve a
memorandum in opposition to a motion, within 21 days after the motion is filed, may be
deemed sufficient cause to grant the motion. Failure to file and serve a memorandum in
opposition to a motion to dismiss within 21 days after the motion is filed may be deemed
sufficient cause to grant the motion, except where the pleadings provide sufficient
grounds to deny the motion. See D. Conn. L. Civ. R. 7(a)1.
        Counsel and Pro Se Parties are further notified that they are required to comply
with requirements relating to Motions for Summary Judgment as set forth in Fed. R. Civ.
P. 56 and D. Conn. L. Civ. R. 56. A party may move for Summary Judgment when that
party believes there is no genuine issue of material fact requiring trial and the party is
entitled to judgment as a matter of law. The motion may be directed toward all or part of
a claim or defense and it may be made on the basis of the pleadings or other portions of
the record in the case or it may be supported by affidavits and other materials outside
the pleadings.
        When a party seeking Summary Judgment (the “moving party”) files a supporting
affidavit, the party opposing Summary Judgment must file an affidavit, or other
documentary evidence, contradicting the moving party’s submissions to demonstrate
that there are factual issues requiring a trial. Facts asserted in the affidavit(s) of the
moving party will be taken as true if not controverted by counter-affidavits or other
documentary evidence.
        Local Civil Rule 56(a) requires the party seeking Summary Judgment to file a
document entitled “Local Rule 56(a)1 Statement,” Which sets forth in separately
numbered paragraphs a concise statement of each material fact as to which the moving
party contends there is no genuine issue to be tried. The material facts set forth in this
statement shall be deemed admitted unless controverted by the “Local Rule 56(a)2




                                            1
         Case 3:15-cv-00207-RAR Document 8 Filed 02/13/15 Page 2 of 6




Statement” required to be served by the opposing party. The paragraphs in the 56(a)2
statement shall correspond to the paragraphs in the 56(a)1 statement and shall state
whether the facts asserted by the moving party are admitted or denied. The Local Rule
56(a)2 statement must also include in a separate section a list of each issue of material
fact as to which it is contended there is a genuine issue to be tried.
        Counsel and Pro Se Parties are alerted to the requirements of Fed. R. Civ. P.
26(f) and Local Civil Rule 26, which require that the parties conduct a case
management planning conference and prepare and file a report of the conference on
Form 26(f) which appears in the Appendix to the Local Rules.
        Counsel and Pro Se Parties are further advised that they may request a referral
of their case to a United States Magistrate Judge for disposition. See 28 U.S.C. 636
and Rule 77.2 of the Local Rules for United States Magistrate Judges.


                                                       Robin D. Tabora, Clerk

(Revised 8/7/13)




                                            2
       Case 3:15-cv-00207-RAR Document 8 Filed 02/13/15 Page 3 of 6


                                      UNITED STATES DISTRICT COURT
                                                  DISTRICT OF CONNECTICUT




            ORDER RE: DISCLOSURE STATEMENT


Any nongovernmental corporate party to an action in this court
shall file a statement identifying all its parent corporations and
listing any publicly held company that owns 10% or more of the
party’s stock. A party shall file the statement with its initial
pleading filed in the court and shall supplement the statement
within a reasonable time of any change in the information.
Counsel shall append a certificate of service to the statement in
compliance with local rule 5(c).

Counsel for plaintiff or removing defendant shall be responsible
for serving a copy of this order upon all parties to the action.


                                                 By Order of the Court
                                                Robin D. Tabora, Clerk

                                                              Revised 8/7/13
      Case 3:15-cv-00207-RAR Document 8 Filed 02/13/15 Page 4 of 6


                                              UNITED STATES DISTRICT COURT
                                                            DISTRICT OF CONNECTICUT



                   TIPS FOR SUCCESSFUL CM/ECF EFILING

   You cannot efile on a case using your PACER login and password. To efile on a
    case, you must have (1) a PACER login and password and (2) an ECF login and
    password (you need both). To obtain an ECF login/password a Connecticut bar
    number is needed and the registration form (available on our website) must be
    completed and emailed to the address on the form:
    attorney_registration_form@ctd.uscourts.gov. After the completed form is
    received, an email will be sent to you with your ECF login/password.

   Do not efile on a case that has not been designated as an efiled case. If there is
    no EFILE flag, DO NOT EFILE ON THE CASE!

   Do not attempt to re-docket something that you think may have been done
    incorrectly. Call the Clerk’s Office for assistance before attempting to make any
    corrections!

   When efiling a Memorandum in Support/Opposition/Reply/Affidavit/Exhibit
    relating to a Motion, you must link the memo/reply/affidavit/exhibit to the
    underlying motion.

   Make sure the PDF document does not exceed 10,000 KB, is readable, the
    correct one to be filed and is right-side up if scanned.

   Do not use the apostrophe or tilde in the text of the entry.

   When efiling documents in a multi-defendant criminal case, be sure to check
    ONLY the box for the defendant(s) that relate to the document you are efiling,
    and not the entire case.

   Include your electronic signature (/s/ followed by your name) on the signature line
    for both the document and the certification of service.

   IMPORTANT INFORMATION RE PRIVACY ACT: All filings with the court -
    including attachments - must comply with Fed. R. Civ. P. 5.2 or Fed. R. Crim. P.
    49.1: Social Security or taxpayer-identification numbers; dates of birth; names of
    minor children; financial account numbers; and home addresses in criminal
    cases, may not appear, except as allowed by the applicable rule.




                                          1
         Case 3:15-cv-00207-RAR Document 8 Filed 02/13/15 Page 5 of 6



Affidavits
Affidavits may be efiled with the signature page scanned or with a /s/ on the signature
line. If the affidavit is related to a motion, it must be linked to the motion.


Amended Complaints
If a new party is being added, please select the “Add/Create New Party” on the
appropriate filers screen. New plaintiff(s) should be added on the filers screen with the
heading “Select the Filer,” new defendant(s) should be added on the filers screen with
the heading, "Please select the party that this filing is against." Enter the name of the
business or last name of the individual and click “search” to see if the name of the party
is already in our system. If not, continue to create the new party following the
Instructions for Searching and Adding Parties located on the District Court’s website.
See also www.ctd.uscourts.gov. Make sure that you select the role of the party. Do not
put any information in the other fields except for “Party Text” when necessary. The
“Party Text” field is used as a descriptive text as explained in the Instructions. Update
the Jury Demand when prompted.

Appearances
You may not efile an appearance on behalf of another attorney. The attorney filing the
appearance must be the attorney that is logged into CMECF. You must click on the
following box to create an association between you and the party(ies) that you are
representing:

              The following attorney/party associations do not exist for this case.
              Please check which associations should be created for this case:

              [√] Party Name (pty:pla) represented by Your name (aty) [√] Lead [√] Notice

Attachments
You must name your attachment by either selecting something from the “Type” drop
down menu or by entering something in the “Description” field. Whatever you select or
enter from both of these options will appear in the docket text.

Discovery
The Court does not accept Discovery pursuant to Local Rule 5(f).

Filers
If there is more than one party as a filer, hold the CTRL key while selecting the
applicable parties.

Motions
Do not use this event if you are not asking for some relief from the court. If there is more
than one relief in your motion, select the applicable reliefs by clicking on them in the box
to the left. The reliefs you have selected will appear in the box to the right.

If you are efiling a motion asking permission to file something or to amend something
                                             2
         Case 3:15-cv-00207-RAR Document 8 Filed 02/13/15 Page 6 of 6


already filed, you must attach the proposed document as an exhibit to your motion. Do
not efile the proposed document until your motion has been granted - then efile the
document you asked for permission to file.

Do not combine motions with responses to other documents. Motions and responses
should be filed as separate documents.

Notice (other)
If you find you are frequently using this event, call the Clerk’s Office for assistance in
locating the correct event for your submission.

Notice of Manual Filing
The Notice of Manual Filing should be efiled using the event for the item you are filing in
paper. Do not use the “Notice (Other)” event. For example, if you are filing exhibits
manually, use the “Exhibit” event and attach the pdf of the Notice of Manual Filing. Mail
the exhibits along with copies of the Notice of Electronic Filing and the Notice of Manual
filing to the Clerk’s Office.

Returns of Service
Returns on executed summonses should be efiled using either the “Summons
Executed” or “Summons Returned Executed as to USA”. There is a separate event for
“Waiver of Return of Service.” See the Attorney Instructions for eFiling Civil Returns of
Service on our website.

Sealed Documents
Attorneys may EFILE sealed documents in Criminal Cases. See the Cheat Sheet on
the Court’s website for helpful information.

DO NOT EFILE documents in Civil Cases that are filed under seal. You are required to
submit the document in paper along with a PDF version on disk.

Revised 8/7/13




                                              3
